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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 KT IMAGING USA, LLC,

                                Plaintiff                  Civil Action No.: 6:21-cv-01002

                    -against-                                   Jury Trial Demanded

 APPLE INC.,

                                Defendant


                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff KT Imaging USA, LLC (“KTI” or “Plaintiff”), by way of this Complaint against

Defendant Apple Inc. (“Apple” or “Defendant”), alleges as follows:


                                             PARTIES

1.     Plaintiff KT Imaging USA, LLC is a limited liability company organized and existing

under the laws of the State of Texas, having its principal place of business at 106 E 6 th Street,

Suite 900, Austin, TX 78701.

2.     On information and belief, Defendant Apple is a corporation organized and existing

under the laws of the State of California. Apple maintains a regular and established place of

business in this Judicial District at 12545 Riata Vista Cir, Austin, Texas 78727, as well as other

locations in this Judicial District (e.g., 2901 S. Capital of Texas Hwy, Austin, Texas 78746; 3121

Palm Way, Austin, Texas 78758; 7400 San Pedro Avenue, San Antonio, Texas 78216; and

15900 La Cantera Parkway, San Antonio, Texas 78256). In November 2019, Apple stated that it

had approximately 7,000 employees in Austin and that it expected to open, in 2022, a $1 billion,

3-million-square-foot campus with capacity for 15,000 employees in this Judicial District. See



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https://www.apple.com/newsroom/2019/11/apple-expands-in-austin/. Apple is registered to do

business in the State of Texas and has been since at least May 16, 1980. Apple may be served

with process through its registered agent, CT Corporation System, at 1999 Bryan Street, Suite

900, Dallas, Texas 75201.

3.      On information and belief, Defendant Apple, either itself and/or through the activities of

its subsidiaries, makes, uses, sells, offers for sale, and/or imports throughout the United States,

including within this District, products that infringe the Patents-in-Suit, defined below.


                                  JURISDICTION AND VENUE

4.      This is an action under the patent laws of the United States, 35 U.S.C. §§ 1, et seq., for

infringement by Apple of claims of U.S. Patent No. 7,196,322, U.S. Patent No. 7,511,261, U.S.

Patent No. 7,598,580, U.S. Patent No. 8,004,602, and U.S. Patent No. 8,314,481 (collectively

“the Patents-in-Suit”).

5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

6.      Apple is subject to personal jurisdiction of this Court because, inter alia, on information

and belief, (i) Apple maintains a regular and established place of business in this Judicial District

located at 12545 Riata Vista Cir, Austin, Texas 78727; (ii) Apple sells products and services to

customers in this Judicial District, including from Apple retail stores (e.g., 2901 S. Capital of

Texas Hwy, Austin, Texas 78746; 3121 Palm Way, Austin, Texas 78758; 7400 San Pedro

Avenue, San Antonio, Texas 78216; and 15900 La Cantera Parkway, San Antonio, Texas

78256); (iii) the patent infringement claims arise directly from Apple’s continuous and

systematic activity in this Judicial District; and (iv) actively employs and seeks the services of

Texas residents in this Judicial District.

7.      Venue is proper as to Apple in this Judicial District under 28 U.S.C. § 1400(b) because,



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inter alia, on information and belief, Apple has a regular and established place of business in this

Judicial District located at 12545 Riata Vista Cir, Austin, Texas 78727, and has committed acts

of patent infringement in this Judicial District and/or has contributed to or induced acts of patent

infringement by others in this Judicial District.


                                         BACKGROUND

8.     On March 27, 2007, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 7,196,322 (“the ’322 Patent”), entitled “Image Sensor Package.”

9.     On March 31, 2009, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 7,511,261 (“the ’261 Patent”), entitled “Image Sensor Module Structure

with Lens Holder Having Vertical Inner and Outer Sidewalls.”

10.    On October 6, 2009, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 7,598,580 (“the ’580 Patent”), entitled “Image Sensor Module Package

Structure with Supporting Element.”

11.    On August 23, 2011, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 8,004,602 (“the ’602 Patent”), entitled “Image Sensor Structure and

Integrated Lens Module Thereof.”

12.    On November 20, 2012, the United States Patent and Trademark Office duly and lawfully

issued U.S. Patent No. 8,314,481 (“the ’481 Patent”), entitled “Substrate Structure for an Image

Sensor Package and Method for Manufacturing the Same.”

13.    KTI is the assignee and owner of the right, title, and interest in and to the Patents-in-Suit,

including the right to assert all causes of action arising under said patents and the right to any

remedies for infringement of them.

14.    By letter dated October 31, 2019, KTI notified Apple of the existence of the ’322 Patent,



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the ’261 Patent, the ’602 Patent, and the ’481 Patent; notified Apple that it infringes the ’261

Patent, the ’602 Patent, and the ’481 Patent; identified an exemplary infringed claim and

infringing products; and invited Apple to hold a licensing discussion with KTI.

15.    Apple has infringed and continues to infringe the Patents-in-Suit by making, using,

selling, or offering for sale in the United States, or importing into the United States mobile

devices, such as smartphones, tablets, and laptops with front and/or rear image sensors.

Attachment A to this Complaint provides a non-exhaustive listing of Accused Products.

Attachment B to this Complaint provides a listing of Exhibits comprising exemplary teardown

images for certain Accused Products.

             COUNT I: INFRINGEMENT OF THE ’322 PATENT BY APPLE

16.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

17.    On information and belief, Apple has infringed the ’322 Patent pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by making, using, offering to sell, selling in

the United States or importing into the United States the Accused Products and all other products

with substantially similar imaging sensors.

18.    For example, on information and belief, Apple has infringed and continues to infringe at

least claim 1 of the ’322 Patent by including an image sensor module in the Apple iPad (4th

Generation) product. See Ex. 1 (cross-sectional image of the Apple iPad (4th Generation) front

facing image sensor). The image sensor module structure in the Accused Products comprises a

substrate having an upper surface, and a lower surface on which second electrodes are formed.

See Ex. 2 (cross-sectional image of the Apple iPad (4th Generation) front facing image sensor).

The image sensor module structure in the Accused Products further comprises a frame layer

arranged on the upper surface of the substrate, a cavity formed between the frame layer and

substrate, and a plurality of first electrodes are formed on the frame layer. See Exs. 3 and 4


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(Apple iPad (4th Generation) front facing image sensor). The image sensor module structure in

the Accused Products further comprises a photosensitive chip mounted on the upper surface of

the substrate and located within the cavity, and electrically connected to the first electrodes of the

frame layer. See Exs. 1-4 (Apple iPad (4th Generation) front facing image sensor). The image

sensor module structure in the Accused Products further comprises a lens holder having an upper

end face, a lower end face, and an opening penetrating through the lens holder from the upper

end face to the lower end face, the upper end of the opening formed with an internal thread and

the lower end of the opening formed with a breach, so that the internal diameter of the upper end

of the opening is smaller than the lower end of the opening, the lens holder adhered on the upper

surface of the substrate by glue, wherein, the frame layer is located within the breach of the lens

holder. See Exs. 1 and 4 (Apple iPad (4th Generation) front facing image sensor). The image

sensor module structure of the Accused Products further comprises a lens barrel having an upper

end face, a lower end face, and an external thread screwed to the internal thread of the lens

holder. See Ex. 1 (cross-sectional image of the Apple iPad (4th Generation) front facing image

sensor).

19.     On information and belief, Apple has induced infringement of the ’322 Patent pursuant to

35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and encouraging

others, including, but not limited to, its partners, resellers, distributers, customers, and end users,

to make, use, sell, and/or offer to sell in the United States, and/or import into the United States,

the Accused Products by, among other things, providing the accused products and incorporated

image sensor technology, specifications, instructions, manuals, advertisements, marketing

materials, and technical assistance relating to the installation, set up, use, operation, and

maintenance of said products.




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20.    On information and belief, Apple has committed the foregoing infringing activities

without a license.

             COUNT II: INFRINGEMENT OF THE ’261 PATENT BY APPLE

21.    Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

22.    On information and belief, Apple has infringed the ’261 Patent pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by making, using, offering to sell, selling in

the United States, or importing into the United States the Accused Products and all other

products with substantially similar imaging sensors.

23.    For example, on information and belief, Apple has infringed and continues to infringe at

least claim 1 of the ’261 Patent by including an image sensor module structure in the Apple

iPhone 6s product. See Ex. 5 (cross-sectional image of the Apple iPhone 6s front facing image

sensor). The image sensor module structure in the Accused Products comprises a substrate

having a horizontal upper surface on which first electrodes are formed, and a lower surface on

which second electrodes are formed, wherein the first electrodes are correspondingly and

electrically connected to the second electrodes. See Exs. 5 and 6 (Apple iPhone 6s front facing

image sensor). The image sensor module structure in the Accused Products further comprises a

photosensitive chip mounted on the upper surface of the substrate, and electrically connected to

the first electrodes of the substrate by wires. See Ex. 5 (cross-sectional image of the Apple

iPhone 6s front facing image sensor). The image sensor module structure in the Accused

Products further comprises a lens holder having an upper end face, a lower end face, and an

opening penetrating through the lens holder from the upper end face to the lower end face,

wherein an upper end portion of the opening is formed with an internal thread and a lower end

portion of the opening is formed with a breach so that an internal diameter of the upper end

portion of the opening is smaller than an internal diameter of the lower end portion of the


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opening, the lens holder is adhered to the upper surface of the substrate by glue, the

photosensitive chip is located within the opening of the lens holder, the glue is filled within the

breach of the lens holder and coated over the wires, the lens holder has a vertical inner sidewall

and a vertical outer sidewall, the vertical inner sidewall is connected to the breach at a portion,

which is located at a level higher than a level of the photosensitive chip, a portion of each of the

wires is located under the breach, and an outer diameter of the lens holder corresponding to the

internal diameter of the upper end portion of the opening is substantially equal to an outer

diameter of the lens holder corresponding to the internal diameter of the lower end portion of the

opening. See Ex. 5 (cross-sectional image of the Apple iPhone 6s front facing image sensor).

The image sensor module structure in the Accused Products further comprises a lens barrel

having an upper end face, a lower end face, and an external thread crewed to the internal thread

of the lens holder. See Ex. 5 (cross-sectional image of the Apple iPhone 6s front facing image

sensor).

24.     On information and belief, Apple has induced infringement of the ’261 Patent pursuant to

35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and encouraging

others, including, but not limited to, its partners, resellers, distributers, customers, and end users,

to make, use, sell, and/or offer to sell in the United States, and/or import into the United States,

the Accused Products by, among other things, providing the accused products and incorporated

image sensor technology, specifications, instructions, manuals, advertisements, marketing

materials, and technical assistance relating to the installation, set up, use, operation, and

maintenance of said products.

25.     On information and belief, Apple has committed the foregoing infringing activities

without a license.




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26.     On information and belief, Apple knew the ’261 Patent existed and knew of exemplary

infringing Apple products while committing the foregoing infringing acts while committing the

foregoing infringing acts, thereby willfully, wantonly and deliberately infringing the ’261 Patent.

             COUNT III: INFRINGEMENT OF THE ’580 PATENT BY APPLE

27.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

28.     On information and belief, Apple has infringed the ’580 Patent pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by making, using, offering to sell, selling in

the United States or importing into the United States the Accused Products and all other products

with substantially similar imaging sensors.

29.     For example, on information and belief, Apple has infringed and continues to infringe at

least claim 1 of the ’580 Patent by including an image sensor module package structure with a

supporting element in the Apple iPad Mini 4 product. See Ex. 7 (cross-sectional image of the

Apple iPad Mini 4 rear facing image sensor). The image sensor module package structure in the

Accused Products comprises a chip having a plurality of light-sensing elements arranged on a

light-sensing area of a first surface of the chip, a plurality of first conducting pads electrically

connected to the light-sensing elements, and at least one conducting channel passing through the

chip and electrically connected to the first conducting pads at one end. See Exs. 7-11 (Apple

iPad Mini 4 rear facing image sensor). The image sensor module package structure further

comprises the supporting element, which is a flat plate having an opening, a first coupling

surface, and a second coupling surface, wherein the opening corresponds to the light-sensing

area and the first coupling surface is combined with the first surface. See Exs. 7 and 8 (cross-

sectional images of the Apple iPad Mini 4 rear facing image sensor). The image sensor module

package structure further comprises a light-transmitting element combined with the second

coupling surface. See Ex. 8 (cross-sectional image of the Apple iPad Mini 4 rear facing image


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sensor).

30.     On information and belief, Apple has induced infringement of the ’580 Patent pursuant to

35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and encouraging

others, including, but not limited to, its partners, resellers, distributers, customers, and end users,

to make, use, sell, and/or offer to sell in the United States, and/or import into the United States,

the Accused Products by, among other things, providing the accused products and incorporated

image sensor technology, specifications, instructions, manuals, advertisements, marketing

materials, and technical assistance relating to the installation, set up, use, operation, and

maintenance of said products.

31.     On information and belief, Apple has committed the foregoing infringing activities

without a license.

             COUNT IV: INFRINGEMENT OF THE ’602 PATENT BY APPLE

32.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

33.     On information and belief, Apple has infringed the ’602 Patent pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by making, using, offering to sell, selling in

the United States, or importing into the United States the Accused Products and all other

products with substantially similar imaging sensors.

34.     For example, on information and belief, Apple has infringed and continues to infringe at

least claim 1 of the ’602 Patent by including an image sensor structure with an integrated lens

module in the Apple iPhone 8 Plus product. See Ex. 12 (cross-sectional image of the Apple

iPhone 8 Plus front facing image sensor). The image sensor structure in the Accused Products

comprises a chip having a plurality of light-sensing elements arranged on a light sensing area of

a first surface of the chip, a plurality of first conducting pads arranged around the light-sensing

area and electrically connected to the light-sensing elements, and at least one conducting channel


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passing through the chip and electrically connected to the first conducting pads at one end as

well as extending along with a second surface of the chip. See Exs. 12-15 (Apple iPhone 8 Plus

front facing image sensor). The image sensor structure in the Accused Products comprises a lens

module comprising a holder having a through hole and a contact surface on a bottom of the

holder, wherein the contact surface is combined with the first surface, and at least one lens

completely embedded inside the through hole and integrated with the holder. See Ex. 12 (cross-

sectional image of the Apple iPhone 8 Plus front facing image sensor).

35.     On information and belief, Apple has induced infringement of the ’602 Patent pursuant to

35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and encouraging

others, including, but not limited to, its partners, resellers, distributers, customers, and end users,

to make, use, sell, and/or offer to sell in the United States, and/or import into the United States,

the Accused Products by, among other things, providing the accused products and incorporated

image sensor technology, specifications, instructions, manuals, advertisements, marketing

materials, and technical assistance relating to the installation, set up, use, operation, and

maintenance of said products.

36.     On information and belief, Apple has committed the foregoing infringing activities

without a license.

37.     On information and belief, Apple knew the ’602 Patent existed and knew of exemplary

infringing Apple products while committing the foregoing infringing acts while committing the

foregoing infringing acts, thereby willfully, wantonly and deliberately infringing the ’602 Patent.

             COUNT V: INFRINGEMENT OF THE ’481 PATENT BY APPLE

38.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

39.     On information and belief, Apple has infringed the ’481 Patent pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by making, using, offering to sell, selling in


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the United States, or importing into the United States the Accused Products and all other

products with substantially similar imaging sensors.

40.     For example, on information and belief, Apple has infringed and continues to infringe at

least claim 1 of the ’481 Patent by including a substrate structure for an image sensor package in

the Apple Macbook Air (A1466) product. See Ex. 16 (cross-sectional image of the Apple

Macbook Air (A1466) image sensor). The substrate structure in the Accused Products comprises

a bottom base having an upper surface formed with a plurality of first electrodes, and a lower

surface formed with a plurality of second electrodes, wherein an insulation layer is coated

between first electrodes and in direct surface contact with the upper surface of the bottom base.

See Ex. 16 (cross-sectional image of the Apple Macbook Air (A1466) image sensor). The

substrate structure in the Accused Products comprises a frame layer arranged on and in direct

surface contact with the first electrodes and the insulation layer to form a cavity together with the

bottom base, wherein the insulation layer is interposed between the bottom base and the frame

layer. See Ex. 16 (cross-sectional image of the Apple Macbook Air (A1466) image sensor).

41.     On information and belief, Apple has induced infringement of the ’481 Patent pursuant to

35 U.S.C. § 271(b), by actively and knowingly inducing, directing, causing, and encouraging

others, including, but not limited to, its partners, resellers, distributers, customers, and end users,

to make, use, sell, and/or offer to sell in the United States, and/or import into the United States,

the Accused Products by, among other things, providing the accused products and incorporated

image sensor technology, specifications, instructions, manuals, advertisements, marketing

materials, and technical assistance relating to the installation, set up, use, operation, and

maintenance of said products.

42.     On information and belief, Apple has committed the foregoing infringing activities




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without a license.

43.       On information and belief, Apple knew the ’481 Patent existed and knew of exemplary

infringing Apple products while committing the foregoing infringing acts while committing the

foregoing infringing acts, thereby willfully, wantonly and deliberately infringing the ’481 Patent.


                                        PRAYER FOR RELIEF

          WHEREFORE, KTI prays for judgment in its favor against Apple for the following

relief:

          A.       Entry of judgment in favor of KTI against Apple on all counts;

          B.       Entry of judgment that Apple has infringed the Patents-in-Suit;

          C.       Entry of judgment that Apple’s infringement of the ’261 Patent, the ’602 Patent,

and the ’481 Patent has been willful;

          D.       An order permanently enjoining Apple from infringing the Patents-in-Suit;

          E.       Award of compensatory damages adequate to compensate KTI for Apple’s

infringement of the ’322 Patent and the ’580 Patent, in no event less than a reasonable royalty as

provided by 35 U.S.C. § 284;

          F.       Award of compensatory damages adequate to compensate KTI for Apple’s

infringement of the ’261 Patent, the ’602 Patent, and the ’481 Patent, in no event less than a

reasonable royalty trebled as provided by 35 U.S.C. § 284;

          G.       Award of reasonable attorneys’ fees and expenses against Apple pursuant to 35

U.S.C. § 285;

          H.       KTI’s costs;

          I.       Pre-judgment and post-judgment interest on KTI’s award; and

          J.       All such other and further relief as the Court deems just or equitable.



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                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Fed. R. Civ. Proc., Plaintiff hereby demands trial by jury in

this action of all claims so triable.


Dated: September 28, 2021                         Respectfully submitted,


                                                  /s/ Stafford Davis
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